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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )
          Defendant.                           )
                                               )

                                             ORDER
         The parties shall participate in an initial scheduling conference to be held on Wednesday,
February 23, 2022, at 11:00 a.m. Eastern Time. The initial scheduling conference will be held
via AT&T Teleconferencing. The Court will provide the parties via email with a call-in number,
an access code, and a security code. Participating on the call will be counsel of record for each
party.


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       In preparation for the initial scheduling conference, the parties shall FILE a joint status
report, on or before February 18, 2022, stating their respective views on the following issues:

       1.      The status of the parties’ exchange of information pursuant to Fed. R. Crim. P. 16,
               and whether any discovery has yet to be completed.



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     2.      Whether the parties are prepared to proceed to trial, and if so, a proposed trial
             date, the approximate length of trial, number of witnesses for each side, and any
             unique issues related to the trial.
     3.      Whether either party intends to file a pre-trial motion; and if so, the nature of the
             motion and a proposed schedule for the briefing of the motion.
     4.      Whether either party intends to file a motion in limine.

     IT IS SO ORDERED.



Dated: February 4, 2022                          s/ Lydia Kay Griggsby
                                                 LYDIA KAY GRIGGSBY
                                                 United States District Judge




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